      Case 4:23-cv-00218-AW-MAF Document 3 Filed 05/25/23 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

HISPANIC FEDERATION, et al.,
              Plaintiﬀs,
v.                                             Case No. 4:23-cv-218-AW-MAF
CORD BYRD, etc., et al.,
              Defendants.


     PLAINTIFFS’ RULE 7.1 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiﬀs submit the

following statement of their corporate interests:

      1.     Plaintiﬀ Hispanic Federation has no parent corporation or any other

publicly held corporation owning 10% or more of its stock.

      2.     Plaintiﬀ Poder Latinx is a ﬁscally sponsored project of Tides Advocacy,

a California nonproﬁt beneﬁt corporation. Tides Advocacy has no parent

corporation, and no publicly held corporation owns 10% or more of its stock.

      3.     All other Plaintiﬀs are individual persons.

Respectfully submitted this 25th day of May, 2023,

                                           /s/ Nicholas L.V. Warren

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     Case 4:23-cv-00218-AW-MAF Document 3 Filed 05/25/23 Page 2 of 2




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             * Motion for leave to appear pro hac vice forthcoming


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